


  This Court allowed a temporary stay in this case on 12 July 2004. As to the other motions filed in this cause, the Court orders as follows:
 

  Petitioners' Petition for Writ of Supersedeas is allowed. The portion of Judge Locklear's Order of 28 June 2004 that provides that "neither [petitioners'] Petition or Amended Petition, nor any other aspect of this proceeding, shall modify the June 30, 2004 effective date of the City's Annexation Ordinance" is stayed pending appeal.
 

  Petitioners' Petition for Writ of Certiorari to review the Court of Appeals' Order entered 7 July 2004 dissolving the temporary stay of the Annexation Ordinance and denying Petitioners' Petition for Writ of Supersedeas to the Court of Appeals is denied.
 

  Petitioners' Application for Discretionary Review (prior to determination by the North Carolina Court of Appeals) by this Court of Judge Locklear's Order Granting Respondent's Motion to Dismiss is denied.
 

  Petitioners' application for an order staying the portions of Judge Locklear's Order to the effect that respondent's Annexation Ordinance is effectively amended to make the effective date of the ordinance the last day of the next full calendar month following the date of the final judgment in connection with petitioners' appeal to the appellate division, is allowed.
 

  Respondent's Urgent Motion to Dissolve the Temporary Stay or, Alternatively, to Expedite Review, is denied.
 

  By order of the Court in Conference, this 13th day of July.
 
